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KATURIA D'AMATO. ESQ.
OfCounser

                                                                             April 10, 2019

            Sent via ECF only
            Honorable Steven I. Locke
            United States Magistrate Judge
            Eastern District of New York
            100 Federal Plaza, Courtroom 820
            Central Islip, New York 11722

                         Re:          Patricia Cummings v. The City of New York. et al.
                                      Docket No. 19 CV 01664 (SlF) (SIL)

            Dear Judge Locke:
                    Our office represents the Plaintiff, Patricia Cummings (Plaintift), with regard to the
            above referenced matter. I write to you in opposition to the letter motion filed by counsel for
            the City of New York Defendants on April 4, 2019, requesting a transfer of this case to the
            Southern District of New York pursuant to 28 U.S.C. § 1404. The Plaintiffis unwilling to consent               .,:~
            to the transfer of this matter.
                    The general transfer-of-venue statute, Section 1404(a), provides that U[f]or the
            convenience of parties and witnesses, in the interest of justice, a district court may transfer
            any civil action to any other district or division where it might have been brought." In
            determining whether transfer is appropriate, the Court must consider the lithe private and
            public interests protected by the language of§ 1404(a)," and that it is the movants' burden to
            establish the need for transfer. See. jumara v. State Farm Ins. Co., 55 F.3d 873, 879 (3d Cir.
            1995). Injumara, the Court explained that the relevant private interests included:

                                     "(1) plaintiffs forum preference as manifested in the original
                                     choice; (2) the defendant's preference; (3) whether the claim
                                     arose elsewhere; (4) the convenience of the parties as indicated
                                     by their relative physical and financial condition; (5) the
                                     convenience of the witnesses-but only to the extent that the
                                     witnesses may actually be unavailable for trial in one of the fora;
                                     and (6) the location of books and records (similarly limited to the
                                     extent that the files could not be produced in the alternative
                                     forum)." See.jumara, 55 F.3d at 879.
                        The Court further explained that the relevant public interests included:
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               "(7) the enforceability of the judgment; (8) practical
               considerations that could make the trial easy, expeditious, or
               inexpensive; (9) the relative administrative difficulty in the two
               fora resulting from court congestion; (10) the local interest in
               deciding local controversies at home; (11) the public policies of
               the fora; and (12) the familiarity of the trial judge with the
               applicable state law in diversity cases." Id. at 879-80.

        28 U.S.C. 1404(a) is, essentially, a codification of the doctrine offorum non conveniens
for cases in which the transferee forum is within the federal court system. The purpose of this
statute is to enable the trial of an action to be held in the forum most convenient for all persons
and interests concerned, and the language of the statute clearly appears to direct this result.
In spite of the seemingly unambiguous language, the attempt to interpret Section 1404(a)
correctly has resulted in an astonishing bulk of litigation. One of the most controversial
problems arising under the statute, the proper interpretation of the phrase "where it might
have been brought' has recently been resolved by the United States Supreme Court in the case
of Hoffman v. Blaski, 363 U.S. 335 (1960). In Blaski, supra, the Supreme Court severely limited
the scope of1404(a). In short, a defendant's venue-option should not be greater than the
plaintiff s. Thus "under 1404(a) a district judge is not authorized to transfer at the whim of the
moving party, but only when the 'convenience of the parties and witnesses, in the interest of
justice' require." Id. Therefore, any legitimate objection by the Plaintiff to the Defendants'
motion to transfer would be reflected in a decision that the interest of justice does not require
the transfer.

        The Plaintiff was a probationary New York City Public School Teacher at The William
W. Niles School- Middle School 118, Community School District 10, in Bronx County, New York.
She seeks damages related inter alia to the infliction of defamation, reverse discrimination,
denial of due process, severe emotional, psychological, and physical distress, loss of reputation,
loss of income, and expenses upon her, and the erroneous termination of her employment as
aNew York City school teacher.

        This matter arose as a result of what was fallaciously reported concerning an alleged
complaint made by a parent of a student regarding a lesson taught by the Plaintiff in her social
studies class on the Middle Passage, wherein she subsequently and unwillingly became the
subject ofa front page pictorial and story in the New York Daily News, falsely accusing her of
being a "racist' and "making black students lie face down on the floor of her class, and asking
them '{HJow does it feel to be a slave?" As a result, this fabricated and erroneous set of "facts"
was picked up by the media worldwide and transmitted to various news outlets and appeared
online and in media all over the world, but particularly within the counties comprising the City
of New York. The Plaintiff was featured in several prominent newspapers and televised news
programs, as well as on YouTube, where it was erroneously reported, among other things that
she "singled out black students and made them act like slaves;" she is falsely reported to have
told them to "lie on the floor for a lesson on slavery and then stepped on their backs to show
them what slavery felt like." She has been publically shamed and falsely accused of "child
abuse," labeled as a "racist," referred to as an "oppressor," by many, including politicians and
activists, and specifically in various and extensive media outlets discussing this issue. She has
received direct threats of violence and death causing her to fear for her life. The Plaintiff was
ultimately exonerated of the erroneous allegations following an investigation by the New York
City Department of Education's Office of Special Investigations, yet has nonetheless been
terminated from her employment as New York City Public School Teacher at The William W.
Niles School- Middle School 118.
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      The argument promulgated by the City Defendants herein overlooks the significant
amount of prejudice to the Plaintiff that would result in this matter being transferred to New
York County, and the inability for the Plaintiff's causes of action to receive an unbiased
consideration by a panel of jurors.

        The Plaintiff commenced a civil action on January 10, 2019, in the Supreme Court in the
County of Suffolk, where she resides. CPLR §509 provides that, "notwithstanding any provision
of this article, the place of trial of an action shall be in the county designated by the Plaintiff,
unless the place of trial is changed to another county by order upon motion, or by consent as
provided in CPLR §511(b)."

       On February 19, 2019, our office received the City Defendants' Demand for a Complaint,
and on that same date, our office received the City Defendant's a Demand for a Change of
Venue from Suffolk County to New York County, inter alia, on the ground that Suffolk County
is an improper county for venue. Plaintiff did not consent to the demand, and the City
Defendants purchased an index number in New York County Supreme Court and moved for
a change of venue under CPLR §§§ 504(2) (3), and 511(a) and (b). The Plaintiff opposed said
motion, which is still pending before the Honorable Julio Rodriguez, III, in the Supreme Court,
New York County, under Index No. 100277/2019. The City Defendants did not submit a Reply
and never withdrew that action. See,CPLR § 511 (b), which states:

               "(b) Demand for change of place of trial upon ground of improper
               venue, where motion made. The defendant shall serve a written
               demand that the action be tried in a county he specifies as proper.
               Thereafter the defendant may move to change the place of trial
               within fifteen days after service of the demand, unless within five
               days after such service plaintiff serves a written consent to
               change the place of trial to that specified by the defendant.
               Defendant may notice such motion to be heard as if the action
               were pending in the county he specified, unless plaintiff within
               five days after service of the demand serves an affidavit showing
               either that the county specified by the defendant is not proper or
               that the county designated by him is proper."

       On or about March 22, 2019, our office received notice of the City Defendants' Notice
of Removal to Federal Court transferring the case to the United States Eastern District of New
York. Thereafter, on April 2, 2019, the Plaintiff's counsel was contacted by the City Defendant's
counsel requesting consent to a further transfer the matter to the United States Southern
District of New York; the Plaintiff refused to consent to the transfer.

        The City Defendants have designated New York County as the proper place of venue of
the action, citing, CPLR §§§ 504(2) (3), and 511(a) and (b), in their motion in the Supreme
Court, which requires that the venue for actions brought against school districts, or any of their
officers, boards, or departments to be brought in the county where the school district is
located, or if they are located in more than one county, in any of the counties where they are
located, and that any action against the City of New York be brought in the county within City
where the cause of action arose. In this regard, the City Defendants further cited to CPLR §
510(1), arguing that venue is subject to change where a Plaintiff designates venue in the wrong
county. While it undisputed that the Plaintiffs' claim arose in Bronx County, where the school
district in question is located, the City Defendants contend that the action must be brought in
New York County in accordance with the statute, yet fail to demonstrate that the Plaintiff will
not be prejudiced by a venue change to New York County. Further, CPLR §504 (2) is
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inapplicable as the City is not the only Defendant in the action.
        CPLR §§504(2) and (3) provide:

               "Notwithstanding the provisions of any charter heretofore
               granted by the state and subject to the provisions of subdivision
               (b) of section 506, the place of trial of all actions against counties,
               cities, towns, Villages, school districts and district corporations or
               any of their officers, boards or departments shall be, for:

               2. a city, except the city of New York, town, village, school district
               or district corporation, in the county in which such city, town,
               village, school district or district corporation is situated, or if such
               school district or district corporation is situated in more than one
               county, in either county;"

               3. the city of New York, in the county within the city in which the
               cause of action arose, or ifit arose outside of the city, in the county
               of New York."

         Nonetheless, CPLR §510 (2), must also be considered, which examines a reason to
believe that an impartial trial cannot be had in what otherwise may be designated as the
proper county. To effectuate CPLR §510 (2), "there must a production of admissible factual
evidence demonstrating a strong possibility that an impartial trial cannot be obtained in the
county where venue is properly placed." See, Miller-Frankel v. Frankel, 93 AD3d 826, 827 [2d
Dept. 2012]; see also, Mattero/Michiel, 48 AD3d 687, 687 [2d Dept. 2008]; Behrins& Behrins,
P.e. v. Chan, 40 AD3d 560, 560 [2d Dept. 2007]; Jablonski v. Trost; 245 AD2d 338,339-40 [2d
Dept. 1997].

        When making a motion to transfer venue, "[t]he party requesting transfer carries the
'burden of making out a strong case for transfer.'" See, Audiovox Corp. v. S. China Enter., Inc.,
2012 U.S. Dist. LEXIS 104656, 2012 WL 3061518, at (E.D.N.Y. July 26, 2012) (quoting N.Y.
Marine and Gen. Ins. Co. v. La/arge N. Am., Inc., 599 F. 3d 102, 114 (2d Cir. 2010)); see also, In
re Hanger Orthopedic Group, Inc. Sec. Litig., 418 F. Supp. 2d 164, 168 (E.D.N.Y. 2006). At the
same time, "motions for transfer lie within the broad discretion of the district court and are
determined upon notions of convenience and fairness on a case-by-case basis." In re Cuyahoga
Equip. Corp., 980 F. 2d 110,117 (2d Cir.1992) (citing,StewartOrg., Inc. v. Ricoh Corp., 487 U.S.
22, 29, 108 S. Ct. 2239, 101 L. Ed. 2d 22 (1988)); see also, EasyWeb Innovations, LLC, 888 F.
Supp. 2d 342, 2012 WL 3755410.

       To determine whether a motion to transfer venue should be granted, the court must
apply a two-pronged test: "(A) whether the action could have been brought in the proposed
forum; and (B) whether the transfer would 'promote the convenience of parties and witnesses
and would bein the interests of justice.'" EasyWeb Innovations, LLC,888 F. Supp. 2d342, 2012
WL 3755410, at *3 (quoting Clarendon Nat'l Ins. Co. v. Pascual, 2000 U.S. Dist. LEXIS 2881,
2000 WL 270862, at *2 (S.D.N.Y. Mar. 13,2000)).


      Under 28 U.S.C. § 1404(a), this Court may grant a motion to transfer "for the
convenience of the parties and witnesses, in the interest of justice.... " However, "unless the
balance is strongly in favor of the defendant, the plaintiffs choice of forum should rarely be

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disturbed." See. Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 67 S. Ct. 839,91 L. Ed. 1055 (1947);
Magnavox Co. v. Bally Manufacturing Corp., 414 F. Supp. 891 (1976). Moreover, since Plaintiff
is a resident of this judicial district, her choice of venue is entitled to considerable deference.
See, Hess v. Gray, 85 F.R.D. 15, 24 (1979).

       An appropriate inquiry is whether a proposed transfer will promote convenience and
fairness, and is in the interest of justice. See, Nabisco, Inc. v. Brach's Confections, Inc., 2000 U.S.
Dist. LEXIS 16168,2000 WL 1677935. As to this prong of the test, a court may consider the
following non-exhaustive list of factors, none of which are dispositive: a) plaintiffs choice of
forum; b) convenience of witnesses; c) convenience of parties; d) locus of operative facts; e)
ease of access to sources of proof; t) relative means of parties; g) availability of process to
compel witness attendance; h) trial efficiency and interests of justice; and I) the forum's
familiarity with governing law. See, Zaitsev v. State Farm Fire & Gas, Co., 2005 U.S. Dist. LEXIS
30325,2005 WL 3088326, (E.D.N.Y. Nov. 17,2005); see also, D.H. Blair & Co., Inc. v. Gottdiener,
462 F. 3d 95, 106-07 (2d Cir. 2006).

       Here, venue is sought to be transferred from the Eastern District of New York to the
Southern District. Given the close proximity of these venues, courts in both districts consider
the following factors to be relatively neutral for the purpose of the transfer analysis:
convenience ofthe parties, convenience of material witnesses, availability of process to compel
the presence of unwilling witnesses, cost of obtaining the presence of witnesses; relative ease
of access to sources of proof, calendar congestion, and where the events at issue took place.
See, Ahmed v. T.]. Maxx Corp., 777 F. Supp. 2d 445, 449 (E.D.N.Y. 2011). Therefore, the two
principle issues this Court must resolve are, "(1) how much deference to give the plaintiffs
choice of forum and (2) how to weigh the interest of justice." Id.

         The City Defendants erroneously accuse the Plaintiff of forum shopping, when in fact,
it is they who are forum shopping. When the City Defendants sought to move the matter to the
Federal Court, they, upon information and belief, assumed that the matter would be removed
to the Eastern District in Brooklyn; however, when the action was actually removed to the
Eastern District in Central Islip, Suffolk County, the City Defendants sought, once again, to have
it transferred to the Southern District of New York. Plaintiff asserts that under these
circumstances, she is entitled to deference, and claims she is not forum shopping because the
Eastern District of New York, in Central Islip, Suffolk County is an appropriate forum that will
not disadvantage Defendants, butthe Southern District in New York City will greatly prejudice
the Plaintiff.

       "It is well settled that the plaintiffs choice of forum is 'given great weight.'" See,
EasyWeb Innovations, LLC, 888 F. Supp. 2d 342, 2012 WL 3755410, (quoting, D.H. Blair & Co.,
Inc., supra, at 107). Where the forum is not a plaintiffs home district, the plaintiffs choice of
forum is given less deference. See, Nabisco, Inc., supra, citing, Hall v. South Orange, 89 F. Supp.
2d 488,494 (S.D.N.Y. 2000). The Plaintiff resides in Suffolk County, which is within the Eastern
District of New York, not the Southern District of New York. Significantly, there is greater
evidence that the City Defendants are forum shopping.

        As a result of the events complained of in this proceeding, the Plaintiff became the
subject of a front page story in the New York Daily News, falsely and publically accusing her
of being a "racist' and alleging that she "made black students lie face down on the floor other
class, and asked them '{HJow does it feel to be a slave?' " As a result, this fabricated and
erroneous set of "facts" perpetrated by the Defendants was picked up by the media worldwide
and transmitted to various news outlets and appeared online and in media all over the world.
The Plaintiff was featured in several prominent newspapers and televised news programs, as
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well as on YouTube, where it is erroneously reported, among other things that she "singled out
black students and made them act like slaves;" she is reported to have told them to "lie on the
floor for a lesson on slavery and then stepped on their backs to show them what slavery felt like."
She has been publically accused of "child abuse," labeled as a "racist," referred to as an
"oppressor," by many, including politicians and activists, and specifically by Ben Chapman, a
reporter from the New York Daily News and Dr: Andre Perry in the Hechinger Report, a
nonprofit, independent news organization focused on inequality and innovation in education.
The Plaintiff has been publically referred to as, among other things, a "racist," a "bigot" a
"cracker," and a "white devil," by New York City Power 105.1 radio personality, Lenard Larry
McKelvey, known professionally as" Charlamagne tha God;" and, among other things, as a "cave
animal" and a "white supremacist" by Philip Scott, a YouTube personality, host of The
AdviseSh ow TV channel, proclaiming a commitment to reporting "truthful" and "accurate news;"
where he has over a million subscribers listening to his social and political commentary, and
further by other members of the general public in various and extensive online media posts
discussing this issue. The audience for these media outlets are generally within New York
County and the five boroughs comprising New York City. Annexed hereto as Exhibit A, are
copies of several instances of local publicity and comments of influential figures within the
New York City community, and the amount of local popular passion and prejudice that has
been ignited by these erroneous allegations 1• There were many, many more of these accounts
that are not included herein in an effort to avoid overwhelming this Court. There would be no
opportunity for the Plaintiff to receive a fair trial in any of the counties comprising New York
City.
        The Plaintiff has already been presumed to be gUilty in these areas. This rush to
judgment is a denial of due process and the equal protection ofthe laws. Politicians, parents,
students, investigators, the Department of Education, irresponsible media, and school officials
responsible for this injustice have promulgated and promoted "fake news" stories concerning
the Plaintiff. Since February 1, 2018, the Plaintiff has found herself having to publically defend
her reputation and integrity, as a direct result of the actions of the Defendants.
        The actions by the Defendants directly resulted in an erroneous news articles being
written and subjecting the Plaintiff to defamation. As a result of the Defendant's actions, the
Plaintiff has been erroneously and permanently labeled and identified as a "racist," publically
humiliated, and subjected to public scrutiny, causing a degradation of her professional status
and reputation, death threats, and numerous threats of physical harm. Her competency and
credibility has been irreparably harmed, particularly among the communities encompassing
the City of New York; particularly New York County.
       The Plaintiffs reputation within the City of New York has been permanently damaged,
the extent of which is extremely widespread. Her professional career is substantially
compromised, and she has been unwillingly exposed to extensive negative notoriety, which
has publically humiliated and embarrassed her and subjected her to threats of violence,
assault, and death.
      The City Defendant's reliance upon a strict interpretation of the statute without
considering the impact and prej udice to the Plaintiff would be an absolute travesty of justice.
One may appropriately conclude from a review of the opinions that, in accordance with CPLR
1 Thisfabricated incident sparked protests around the city and led New York City Mayor Bill de Blasio to earmark
$23 million ($23,000,000.00) for anti-bias training for New York City educators. De Blasio slammed the alleged
actions of the Plaintiff at an unrelated press conference, stating, "It's not acceptable. It's not even close," de Blasio
said when asked about the allegations. "[ don't know any teacher in their right mind who would do something like
that."

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§510 (2), both the individual and institutional interests in impartiality, fairness, and the
avoidance of an appearance of impropriety are to be recognized, and necessarily weighed
against the individual and institutional interests in access to the courts and a proper and
convenient forum. One may also appropriately conclude that on these issues, as on many
others, the trial court must pay attention at least as much to what the appellate courts are
doing as to what they are saying, when faced with unique circumstances such as these.
        Under the unique circumstances of this case, the extensive evidence demonstrating that
the bias that would exist against the Plaintiff should this action be removed to New York
County, would be overwhelming; and the protection of the court from even a possible
appearance of impropriety requires the venue of this action to be outside of any of the counties
of the City ofN ew York. See, Saxe v. OB/GYN Assoc., 86 NY2d 820,822; Kavelman v. Taylor, 245
AD2d 9; Milazzo v. Long Is. Light. Co., 106 AD2d 495.

         The Courts have otherwise found that the great deal of local publicity concerning an
emotionally charged event, as well as comments of influential figures within the community,
could "excite local popular passion and prejudice" (see, People v. DiPiazza, 24 NY2d 342, 347,
300 NYS2d 545, 248 NE2d 412 (1969)), and thereby affect the impartiality of the jurors in a
trial, and ultimately impact their deliberations if trial was held in a County associated with the
New York City Department of Education.
        In this regard, where there is a conflict of applicable venue provisions, CPLR §502
authorizes the court to determine the most appropriate venue by taking into consideration a
number discretionary factors, including the ends of justice, set forth in CPLR §5 10 (2) and (3).
See. Fucito v. Board o/Educ. o/City o/New York, 190 AD2d 60S, 606 [1st Dept. 1993]; Grumet
v. Pataki, 244 AD2d 31, 35 [3d Dept.], motion to vacate denied, 92 NY2d 914 [1998], affirmed
93 NY2d 677, certiorari denied 528 US 946 [1999]; Bennettv. Bennett, 49 AD3d 949, 949 [3d
Dept. 2008]; Siegel, New York Practice § 116, at 217 n 13 [5 th ed].
        Further, even from a Constitutional perspective, due process requires that the
procedures by which laws are applied must be evenhanded, so that individuals are not
subjected to the arbitrary exercise of government power. See, Marchant v. Pennsylvania R.R.,
153 U.S. 380, 386 (1894). In civil contexts, however, a balancing test is used that evaluates the
government's chosen procedure with respect to the private interest affected, the risk of
erroneous deprivation of that interest under the chosen procedure, and the government
interest at stake. See. Mathews v. Eldridge, 424 U.S. 319, 335 (1976). Just as in criminal and
quasi-criminal cases, an impartial decision-maker is an essential right in civil proceedings as
well. See, Goldberg v. Kelly, 397 U.S. 254, 271 (1970). "The neutrality requirement helps to
guarantee that life, liberty, or property will not be taken on the basis of an erroneous or
distorted conception of the facts or the law.... At the same time, it preserves both the
appearance and reality of fairness ... by ensuring that no person will be deprived of his
interests in the absence of a proceeding in which he may present his case with assurance that
the arbiter is not predisposed to find against him." See, Marshall v.ferrieo, 446 U.S. 238, 242
(1980); Schweikerv. McClure, 456 U.S. 188, 195 (1982). In addition, although "[p]ersonal bias
or prejudice 'alone would not be sufficient basis for imposing a constitutional requirement
under the Due Process Clause,'" there "are circumstances 'in which experience teaches that the
probability of actual bias on the part of the decision-maker is too high to be constitutionally
tolerable.'" Id.
       Despite CPLR §§ 504 (2) and (3), the valid concerns of the extreme amount of local
publicity concerning this emotionally and racially charged event, and the extreme and
derogatory comments made against the Plaintiff by numerous influential figures within the
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community, this matter would unquestionably be described as significantly having excited
local popular passion and prejudice, and created a negative notoriety that would undoubtedly
and negatively affect the impartiality of the jurors in New York City, such that it would be
impossible for the Plaintiff to have her claims fairly adjudicated. Thus, the City Defendants'
motion to transfer this matter to the Southern District must be denied in its entirety.

       Thank you for your attention and courtesies.




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